






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00015-CR






Jason Rhodes, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 26TH JUDICIAL DISTRICT

NO. 06-797-K26, HONORABLE BILLY RAY STUBBLEFIELD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Jason Rhodes pleaded guilty to the felony offense of forgery
of&nbsp;a&nbsp;financial&nbsp;instrument and was placed on deferred-adjudication community supervision
for&nbsp;a&nbsp;period of five years.  Subsequently, the district court amended the conditions of Rhodes's
community&nbsp;supervision to include a condition that he serve 180 days in jail.  After Rhodes failed to
report to jail on a certain date as scheduled by his probation officer, the State filed a motion to
adjudicate.  Following a hearing, the district court granted the motion, adjudicated Rhodes guilty,
and sentenced him to fifteen months in state jail.  In a single point of error, Rhodes asserts that the
district court abused its discretion in revoking his community supervision.  We will affirm the order
adjudicating guilt.




BACKGROUND

		After Rhodes was placed on deferred adjudication, he allegedly violated the
conditions of his community supervision by writing two "hot checks," failing to provide a statement
of his income and expenses, and failing to attend a cognitive education program.  Rather than
seeking to revoke Rhodes's community supervision based on these violations, the State agreed to
continue Rhodes on community supervision in exchange for Rhodes agreeing that his conditions of
community supervision be amended to include restitution in the amount of $11,175.00.

		The district court scheduled a hearing for February 6, 2008, to approve the agreement.
However, Rhodes did not appear at the hearing.  On the day of the hearing, Rhodes represented to&nbsp;the
court, his attorney, and others that his father-in-law had recently passed away, that he needed
to&nbsp;attend the funeral in Taylor, and that, although Taylor was within Williamson County, he could
not make it to court in time for the hearing.  As Rhodes later admitted, however, he did not attend
a funeral and, in fact, was not even in the state.  Rhodes had left Texas without permission from his
probation officer to work in Laramie, Wyoming.  Rhodes made the decision to stay in Wyoming
on&nbsp;the day of the hearing to complete a job.  Rhodes returned to Texas later that night and turned
himself in to the Williamson County Jail. 

		On February 11, 2008, the district court held a hearing to consider the agreement
previously reached between the State and Rhodes.  At the hearing, Rhodes, who had been in jail
since his return to Texas, apologized for lying to the court.  The State, in response to Rhodes's
conduct, requested that the court amend the conditions of his community supervision to include
additional jail time.  The district court agreed to the State's recommendation and amended Rhodes's
community supervision as follows:


The additional condition of probation--and I will reluctantly go along with the
State's recommendation that he be continued on probation, but he will be required,
as a condition of probation, to serve 180 days in the Williamson County Jail.  In light
of the financial circumstances of his family--I don't wish to punish his family, but
I must punish his behavior--I will allow him to do the first 30 days consecutive
within the next 90 days, and the remaining 150 days will be served in 30-day
increments. And those will, basically, be scheduled in such a fashion that he can
complete those by the end of his probation, which will be 2011.  I do that in order
that he will have a regular schedule that he can work around.  He needs to set aside
those 30 days.  And they will be served in jail, and they will be served in 30-day
consecutive increments.



Rhodes's attorney then asked whether Rhodes would need to "work . . . out with his probation officer
. . . when he's going to go in" to the jail to serve his time.  The district court replied, "That's right."
At the conclusion of the hearing, the district court instructed the prosecutor to "make a note on
the&nbsp;file that this is a very unusual case . . . if we have any trouble in the future." (1)  The district court
subsequently entered a written order amending Rhodes's condition of community supervision to
include the condition that Rhodes "serve 180 days in jail." (2)

		In December 2010, the State filed a motion to adjudicate, alleging that Rhodes
had&nbsp;violated the condition of his community supervision requiring him to serve 180 days in jail.  The
district court held a hearing on the motion.  At the hearing, the district court considered testimony
from several witnesses, including Michael Vohs, Rhodes's primary probation officer.

		Vohs testified that after the district court ordered Rhodes to serve jail time, Vohs
had&nbsp;Rhodes report to him on February 15, 2008.  On that date, according to Vohs, he and Rhodes
"essentially chose the dates of all future commitment orders."  Vohs explained,


We chose them together, in such a way that would--one, that he would know . . . the
future jail time so he could plan his life around them.  Also, I didn't want there to be
any kind of confusion as to does he have to do them now or later and . . . you know,
easy for him to get his life around.  I felt it was easiest just to pick the days, these are
the days, so he can plan his life around them.



Vohs added, "Just from prior interactions with Mr. Rhodes, I felt that you had to be very specific on
some things. . . .  I felt that I had to be extremely concrete with him, and with as little ambiguity as
possible, so that he may not--so that there was no misunderstanding."

		Rhodes was scheduled to report for his first 30-day sentence on May 7, 2008.
According to Vohs, Rhodes reported to jail on that date but filed a request with the district court to
allow him to serve his jail time in smaller increments.  The district court denied the request.

		Rhodes was scheduled to begin his second 30-day sentence on January 2, 2009.
However, in December 2008, Rhodes appeared at Vohs's office without an appointment and asked
to have his jail time rescheduled because of how the previously scheduled date would adversely
impact his new job and be a burden on his family.  Vohs denied the request and reminded Rhodes,
"You knew that these dates were not going to be changed."  Vohs advised Rhodes that if he wanted
the dates changed, he would need to hire an attorney.  Rhodes turned himself in to the jail as
scheduled on January 2.

		Prior to Rhodes's third scheduled jail sentence set to begin on May 6, 2009, Rhodes
hired an attorney and obtained a hearing before the district court to request a modified jail schedule.
Rhodes asked to be allowed to serve his remaining 120 days as four-day weekends every month until
all days had been served.  The district court denied the request but agreed to let Rhodes do his next
30-day sentence at a later, unspecified time.

		Rhodes subsequently was assigned a second probation officer, Inez Garza. (3)  Vohs
testified that Rhodes and Garza agreed that Rhodes would begin serving his third 30-day
jail&nbsp;sentence on July 23, 2010.  On that date, Vohs contacted Rhodes to inform him that the
commitment order had been prepared and signed by the judge and that Rhodes needed to report to
the jail by 6:00 p.m.  Vohs testified that Rhodes "seemed reluctant" to begin the jail time, but Vohs
advised him, "You're supposed to be here."  Later that day, Rhodes called Vohs and told him that
because he had not heard from Garza, he did not believe he needed to report to the jail.  Rhodes also
expressed concern that if he went to jail, he would lose his job because he had not informed his
employer that he was supposed to report to jail on the date in question.  Vohs reminded Rhodes that
he had previously agreed to the date and that, if Rhodes did not report to the jail as scheduled,
"he&nbsp;should expect to go back to court on a violation report."  Rhodes did not report to the jail as
scheduled, and Vohs subsequently filed a probation-violation report.

		Garza also testified at the hearing and agreed with the State that Rhodes
was&nbsp;scheduled to report to jail on July 23.  Garza added, "That was the date that he suggested."  On
July 26, Garza received a call from Rhodes informing her that he had not reported to the jail on
July&nbsp;23 because Garza had not called to confirm that date with him.  Garza explained to Rhodes that
it was his responsibility to contact her, not the other way around.

		Rhodes testified in his defense.  Rhodes testified that it was his understanding that
after the district court had allowed him to change the dates during which he could serve his jail time,
there was no set schedule for serving his time so long as he completed it by the end of his probation.
In Rhodes's words, "It didn't matter when I got them done as long as I got them done."  Rhodes
testified that he did not suggest the July 23 start date as Garza had testified, but he did agree to it.
According to Rhodes, Garza had told him that "she would try to get [him] in on the 23rd," but
"for&nbsp;some reason in [Rhodes's] mind it was not confirmed."  Rhodes acknowledged receiving the
commitment order from Vohs via email on July 23, but he believed that he did not need to report to
the jail as specified by the order because Garza had not previously confirmed the date with him.
When Rhodes received the call from Vohs on July 23 telling him that the commitment order was
signed and that he should report to the jail later that day, Rhodes told him, "I can't.  I mean, it's too
late in the day.  I can't make it out there." (4)  Rhodes also did not report to jail the following day or
the day thereafter because he "didn't even know that was an option."  When Rhodes called Garza
on July 26, he asked her if he could wait to report until January, and she advised him that if he
wanted to wait until then, he needed to hire an attorney and get permission from the court.

		On cross-examination, Rhodes admitted that he understood his amended conditions
of probation and his obligation to serve jail time as ordered.  Rhodes also claimed that the less than
one year remaining on his probation was sufficient time to complete his remaining 120 days of jail,
even though, in the previous two-and-a-half years since the jail time had been ordered, he had
completed only 60 days.

		At the conclusion of the hearing, the district court adjudicated Rhodes guilty
and&nbsp;sentenced him to fifteen months' confinement in state jail.  This appeal followed.


STANDARD OF REVIEW

		A trial court's decision to adjudicate a defendant's guilt is reviewed in the same
manner as a revocation of "ordinary" community supervision.  See Tex. Code Crim. Proc. Ann.
art.&nbsp;42.12, § 5(b) (West Supp. 2010).  In other words, our review is limited to determining whether
the trial court abused its discretion in determining that the defendant violated the terms of his
community supervision.  See Rickels v. State, 202 S.W.3d 759, 763 (Tex. Crim. App. 2006); Duncan
v. State, 321 S.W.3d 53, 56 (Tex. App.--Houston [1st Dist.] 2010, pet. ref'd).  A trial court abuses
its discretion in revoking community supervision when the State fails to meet its burden of proof.
Cardona v. State, 665 S.W.2d 492, 493 (Tex. Crim. App. 1984).  The State's burden of proof in
community-supervision revocation cases is by a preponderance of the evidence.  Rickels, 202 S.W.3d
at 763-64.  Thus, the trial court does not abuse its discretion in revoking community supervision
if&nbsp;the greater weight of the credible evidence creates a reasonable belief that the defendant has
violated a condition of his community supervision.  See id. at 764.  We view the evidence presented
in a revocation proceeding in the light most favorable to the trial court's ruling.  Garrett v. State,
619&nbsp;S.W.2d 172, 174 (Tex. Crim. App. 1981); Mauney v. State, 107 S.W.3d 693, 695
(Tex.&nbsp;App.--Austin 2003, no pet.).  As the trier of fact, it is left to the trial court to judge the
credibility of the witnesses and the weight to be given their testimony.  Garrett, 619 S.W.2d at 174;
Mauney, 107 S.W.3d at 695.


ANALYSIS		In his sole point of error, Rhodes asserts that the district court abused its discretion
in adjudicating his guilt based on a failure to serve his jail time.  According to Rhodes, because
his&nbsp;period of deferred adjudication was not set to end until November 2011, he still had time to
comply with the condition.  He adds that there was no requirement in the district court's order that
he "complete the required jail time by a date certain."

		As support for his position, Rhodes relies solely on Dureso v. State, 988 S.W.2d 448
(Tex. App.--Houston [1st Dist.] 1999, pet. ref'd).  In that case, Dureso was required as a condition
of his probation to perform no less than 10 hours of community service per month.  At the probation
revocation hearing, Dureso's probation officer testified that Dureso had until March 21 to complete
the 10 hours of community service required for the month.  When Dureso was arrested on March 3,
he had already registered to start his community service and still had almost three weeks to complete
his hours.  The appeals court concluded that the district court abused its discretion in finding a
violation of probation when Dureso still had time to perform the required community service hours.
See id. at 450.  The appeals court provided no further analysis on the issue.

		Rhodes's case is distinguishable from Dureso.  While it is true that Rhodes had
time&nbsp;prior to the expiration of his deferred adjudication to serve his remaining 120 days in jail, the
district court had ordered Rhodes to serve his jail time in six 30-day increments as directed by the
probation department.  Rhodes's probation officers, Vohs and Garza, both testified that Rhodes was
scheduled to report to the jail for one of those increments on July 23, 2010, and that Rhodes had
agreed to this date.  By his own admission, Rhodes did not report on that date.  Rhodes claimed that
this date was never confirmed to him, but the district court would not have abused its discretion in
disbelieving Rhodes's testimony, particularly in light of Rhodes's documented history of lying to&nbsp;the
court.  The record also reflects that Rhodes did not report to the jail on the days following July 23
even after being told by Vohs that he was "supposed to be there," that Rhodes had attempted to re-schedule his jail time on prior occasions, and that he had sought not to report to jail again until
January 2011, which was ten months prior to the expiration of his deferred adjudication.  Thus,
the&nbsp;district court could have found that Rhodes had exhibited a pattern of attempting to evade his
jail&nbsp;time in the past and that this pattern could continue in the future.  And, as the State pointed out
during the hearing, in the two-and-a-half years since Rhodes had been ordered to serve jail time, he
had completed only 60 days of his 180-day requirement.  Based on that history, the district court
would not have abused its discretion in finding it unlikely that in the remaining eleven months of
Rhodes's deferred adjudication, he would be able to complete the remaining 120 days of jail time.

		Viewing the above evidence in the light most favorable to the trial court's ruling, we
conclude that the State satisfied its burden to prove by a preponderance of the evidence that Rhodes
violated a condition of his community supervision.  Accordingly, on the facts and circumstances of
this case, we cannot conclude that the district court abused its discretion in adjudicating Rhodes's
guilt.  We overrule Rhodes's sole point of error.


CONCLUSION

		We affirm the district court's order adjudicating guilt.



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Pemberton and Henson

Affirmed

Filed:   August 31, 2011

Do Not Publish
1.   In fact, the district court admonished Rhodes that "this is undoubtedly the most blatant
occurrence" of lying to the court that the district court had experienced in sixteen years on the bench.
2.   Rhodes claims in his brief that no such written order was filed.  While the written order
was not included in the clerk's record, it has been included in a supplemental clerk's record that was
requested by this Court.
3.   This was because Rhodes was now reporting from Montgomery County where he was
employed at the time. 
4.   Rhodes testified that he was working in Montgomery County that day.


